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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,               )
     et al.,                             )
                                         )
        Plaintiffs,                      )
                                         )
and                                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Plaintiff-Intervenor,            )
v.                                       ) No. 2:22-cv-00184-LCB-SRW
                                         ) Hon. Liles C. Burke
STEVE MARSHALL, in his official          )
capacity as Attorney General of the      )
State of Alabama, et al.,                )
                                         )
        Defendants.                      )

                                [PROPOSED] ORDER
        Having considered Defendants’ Unopposed Motion to Unseal Dr. Koe’s

Testimony From the Preliminary Injunction Hearing, and for good cause shown, the

Court hereby GRANTS Defendants’ motion. The Clerk of Court is hereby directed

to unseal the portions of the preliminary injunction transcript containing Dr. Koe’s

testimony: pages 170:22 through 195:8 of the transcript.

        DONE and ORDERED this ____ day of ________, 2022.




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                         ______________________________________

                         UNITED STATES DISTRICT COURT JUDGE




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